THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

X
TERRI SIMMONS, Parent & Guardian AMENDED COMPLAINT
Plaintiffs, Civil Rights No. 19 CV 10388 (VB)
-against-
THE CITY OF MOUNT VERNON; Jury Trial Demanded

MOUNT VERNON CITY SCHOOL DISTRICT
SUPERINTENDENT; FELECIA GAON, DIRECTOR

OF SCHOOL SERVICES; THE COUNTY OF PUTNAM;
PUTNAM/NORTHERN WESTCHESTER BOARD

OF EDUCATIONAL SERVICES; NICOLE MURPHY
AND PENNY BECKMAN; NEW YORK STATE

DEPARTMENT OF EDUCATION; NEW YORK
STATE BOARD OF REGENTS; MICHELE FRET; [s C [5 W [a
SHELLEY-EINBINDER FLEISCHMANN, SPECIAL
EDUCATION DIRECTOR PUTNAM COUNTY,
APR 15 2022
All Defendants in their official and individual

cen PRO SE OFFICE

Defendants.
x

Preliminary Statement

(A) Plaintiffs bring this action to seek redress for Defendants’ pervasive failure to meet their
obligation to provide a free appropriate public education (“FAPE”’); the Individuals with Disabilities
Education Act (“IDEA”), 20 U.S.C. § 1400 et seq., Section 504 of the Rehabilitation Act of 1973, 29 U.S.C.
§ 794 (“Section 504”}, and New York Education Law § 4002 et seq. (“N.Y. Educ. Law § 4002”) and the
American Disability Act (ADA) Title 42 of the U.S.C.A section 12101; discriminatory treatment, and
pursuant to the Civil Rights violations under Title 42 section 1983. When defendants, acting together,
failed to implement their legal obligations to notify the Plaintiff/Parent of a disable child and/or
guardiance counselors before imposing the FIVE DAYS suspension. Defendant Beckman, disclosure of
the confidential questioning and answers from Plaintiff's son to Defendant Murphy, was an ethnical
breach of professionalism and the privacy act in violation of the law without consent from the
parent/Plaintiff. Defendants failure to follow their own rules contribute to Plaintiff's prejudice and
discriminatory treatment. Defendant's subsequently expelled the child without affording the
Plaintiff/parent a written notice of their intent within 24 hours as required by legal proceedings
(Education Law section 3214[3][b][1]; 8 NYCRR 100.2(1][4]). Plaintiffs’ right to a fair hearing with
reasonable notice which would include enough information te prepare an effective defense was not
properly administered in accordance with the provisions of FAPE and IDEA. Defendants failure to

adhere to the guidelines and procedures implement into law by the United States Department of
Education for disable students/parents violated Plaintiff's rights to due process and equal protection
of the law. Defendant's failure to follow the FAPE and IDEA procedures. Instead subjected Plaintiff's to
their own interpretation of the legal proceedings for students as opposed to classified students with
disabilities. Defendants failure to incorporated Plaintiff's impute and presentation cf medical and
mental health records was in violation of Federal and State laws. Plaintiff was deprived of equal
protection and due process when Plaintiff was not notified of available school services for her child
during suspension. The defendant's placement of Plaintiff's child into a Public High school without
Plaintiff's consent. Defendant's discriminated against the Plaintiff and in violation of Due Process.
Defendant's at no time adequately provided the statutory notices and notifications to the Plaintiff the
legal rights afforded to the Parents of disable children for redress. Plaintiff parental rights to practicipate
in her child education was destroyed by the defendants and continue to have crucial affects to the
Plaintiff trust and fiduciary obligation entrusted to the education department personal and system for
the disabled parents such as the Plaintiff.

JURISDICTION AND VENUE

1, This Court has jurisdiction under 28 U.S.C. § 1331, in that claims are asserted under the laws
of the United States; under 28 U.S.C. § 1343(a), in that claims are asserted under laws providing for the
protection of civil rights and title 42 section 1983; and under 20 U.S.C, § 1415(i}(2) & (3) and 29 U.S.C, §
794(a}. This Court has supplemental Jurisdiction over all state law claims herein asserted under 28 U.S.C.
§ 1367, and as such, state law claims form part of the same case or controversy as the claims for which
this Court has original jurisdiction.

2. Venue Is proper in the Southern District of New York under 28 U.S.C. § 1391(b) because the
NY SED operates in this judicial district, Defendant City of Mount Vernon and Putnam County principal
place of business is in this district, and a substantial part of the Defendants’ systemic and policy
decisions giving rise to Plaintiffs’ claims occurred within the judicial district

3. If successful, Plaintiffs are entitled to costs and attorney's fees under 20 U.S.C. § 1415(i}(3)
and 29 U.S.C. § 794a(a}{2).

Parties

4, The Plaintiffs TERRI SIMMONS, a parent and guardian at all times resided in the County
of Westchester, State of New York.

5. Defendant City of Mount Vernon is a municipality incorporated in the county of
Westchester, State of New York and is being sued as the Executive Official for the City of Mount Vernon.

6. Defendants MOUNT VERNON CITY SCHOOL DISTRICT SUPERINTENDENT is an employed
official for the City for Mount Vernon School! District, and is sued in their individual and official capacity.

7. Defendant THE COUNTY OF PUTNAM is a municipality incorporated in the State of New
York and is being sued as the Executive Official for the THE COUNTY OF PUTNAM.

8. Defendant PUTNAM/NORTHERN WESTCHESTER BOARD OF EDUCATIONAL SERVICES (PNW
BOCES) is a municipality department for the County of Putnam and incorporated by the State of New
York,

9. Defendant NICOLE MURPHY, the superintendent of Fox Meadow School in the County of
Putnam, is sued in her individual and official capacity.

11. Defendant PENNY BECKMAN, at all times relevant was the School Psychologist for Fox
Meadow in the County of Putnam and is sued in her individual and official capacity.

12, Defendant NEW YORK SPECIAL EDUCATION DEPARTMWMENTY, along with the NEW YORK
SPECIAL EDUCATION BOARD OF REGENTS § (“the Board of Regents”), is the officia! body charged with
the responsibility of developing policies concerning the administration and operation of the public
schools in the State of New York, including programs and services for students with disabilities in New
York City. 20 U.S.C. § 1412{a}{11). NY SED is a state government entity in Albany, with its principal place
of business located at 89 Washington Avenue, Albany, New York 12234.

13. Defendant FELICIA GAON, at all times mentioned was the director of school services for
Mount Vernon School District, County of Westchester, State of New York and is sued in her individual
and official capacity

14, Defendant MICHELE FRET, at all times mentioned was the suspervisor of Specil Education,
for the Mount Vernon Nellie A. Thorton High School, County of Westchester, State of New York and is
sued in her individual and official capacity

Defendant SHELLEY-EINBINDER FLEISCHMANN, at all times mentioned was the Director of
Special Education for Defendant's Putnam/Nerthern Westchester Boces and is sued in her individual and
official capacity.

FACTS

15. Plaintiff Simmen's at all times mentioned herein was the parent and guardian of a disable
child enrolled at Putnam/Northern Westchest Boces Fox Meadow Special Education School and Mount
Vernon Department of Education fer the State of New York Department of Education.

16. On November 9, 2016, Defendant Murphy suspended Plaintiff's child for a period of FIVE
DAYS © starting on (11/14, 11/15, 11/16, 11/17 and 11/18 of 2016) without notification to
Plaintiff/parent as required by lawful procedures and before conducting a informal conference pursuant
to due process. (see first class letter overnight delivery dated November 9, 2016 received November 14,
2016).

17. Defendant Murphy further requested a superintendent hearing from Defendant's Mount
Vernon Schoo! District Superintendent alleging student Code of Conduct violations V 1.C.B and VI.D.1f.
Before allow Plaintiff child back into special education school.

18. At no time was Plaintiff provided due process from Defendant's School District for continual
educational service for the disable pending superintendent hearing.

19. Defendants violated FAPE and IDEA procedural guidelines when they, together and
collectively attempted to cover up Plaintiff's right to notification and the procedural guidelines that
suspension for FIVE DAYS WAS ended on November 14, 2016. Instead, defendant Murphy discriminated

against Plaintiff by adding additional days for a superintendent hearing.

20. On November 15, 2016, Defendant Gaon forward a defective letter as notice of a
Superintendent hearing misinforming Plaintiff that: "...in connection with the Principal's letter of school
suspension dated November 22, 2016." A hearing date for November 22, 2016 was scheduled at 9
AM.(See attached 11/15/2016 I|tr from Mount Vernon School District Felicia Gaon, (DOSS)},

21. Defendant's conduct a superintendent hearing without offering the Plaintiff legal assistance
or information from legal services - free of charge.

22. Defendants failed to give notice to Plaintiff to participate in a Manifestation hearing prior to
superindent hearing to determine whether such behavior was outside of the disability reported in the
IEP and to allow Plaintiff the right to provide medical and mental health records and doctors in defense
of the charges.

23. Plaintiff wrote numerous letters requesting legal assistance and school services from
Defendants Board of Education, Department of Education and Mount Vernon School District. (These
document will be provided)

24, Defendant's School District held a superintendent hearing without allowing Plaintiff the time
to acquire legal assistance. (See Pli ltr dated December 5, 2016)

25. Defendant's superintendent hearing was conducted on different charges as alleged by
Defendant Murphy at Fox Meadow School code of discipline conduct violations without notice to
Plaintiff and in violation of due process. (See 11/15/2016 ltr from defendant Gaon)

26. On January 3, 2017, Plaintiff filed a complaint for her disable child to return back to Fox
Meadow Boces and Mount Vernon Schoel District. (See attached}

27, On January 10, 2017, Defendants agent by letter offer "home instruction with certified
teachers while looking for new placements." Far past the required time period to offer home services.
(Message by IPHONE from Defendant Gaon.

28. Plaintiff was not provided the cede of rules for disciplinary actions leading to her child's
suspension. Upon information and belief but was part of a letter from Defendant Murphy to
Defendant Hamilton attempting to justify Murphy decision alleging Plaintiff child suspension was due
to section 3214 of New York State Consclidated Laws - Education- Part 1.... subpart 2-a(a) which
describe Violent Pupil.

29. Plaintiff filed a complaint against the Mount Vernon School District bus services with the
Department of Education Office of Civil Rights for their continual failure to perform their obligatory
obligations to picking up disable students from their home's. This matter investigated an a report and
findings rendered by the US DOE Office of Civil Rights. (See letter dated Jan. 11, 2011 from US DOE OCR
case No 02-17-1089)

30. Plaintiff believe retaliation was a part of the continual deprivation of her parental right to
participate tn the educational services, disciplinary proceedings and by the defendant's displacement of
her son based on a unlawful change of his IEP without her consent and participation.

31. Plaintiff requested for a manifestation before the superintendent hearing and was informed
that defendant's had a manifestation hearing without notification the Plaintiff and deprived Plaintiff of
the fundamental rights afforded by FAPE and IDEA.

32. The Independent Hearing Officer put an order in for a New Manfestation Hearing, and a
Superintendent Hearing pror to making and determination. {See ltr email)

33. Defendant Murphy, upon information provided via a email to Plaintiff from Defendant's
counsel ef record stating in part: "...at some point subsequnt to the suspension of the student,
PNWBOCES informed the District that the Student could not return to PNWBOCES under any
circumstances, notwithstanding PNWBOCES agreement with the District to educate the Student and
continued billing of the District for services rendered to the Student. While the Parent is seeking
reinstatement to the BOCES program, the District is aware of no authority by which it may compel

BOCES to accept the Student absent an order of a hearing officer or court of competent jurisdiction.
Consequently, the relief requested in the haring request shall be rendered moot if BOCESS is relieved
from the case. ...".

34. Defendant's by their counsel violated the FAPE and IDEA, when they followed the directions
of counsel when he stated: "...the District respectfully requests an order directing the Parent to obtain
counsel by a date certain and permitting the District to proceed with the disciplinaryt hearing, whther
Parent is represented or net, upon such date. The District also rquests an order permitting it to proceed
with a manifestation determination review on such date, again, whether parent is represented or not.
..' (Dated Jan. 24, 2017 8:55 AM from Thomas Scapoli to Karen Norlander Hearing Officer)

35. Defendant BOCES ("PNWB"} counsel confidential letter to IHO Norlanders' stated that PNWB
is as a matter of law, not a proper party to this proceeding. The law is clear that the parties to due
process hearing shall be limited to the parent/guardian/student and the district or State agency directly
responsible for providing FAPE is most often the student's district of residence. ...' and he continues by
saying: "...However, in cases where a classified student has been privately placed by their parents in a
school located within New York, State law provides the District of Location with a duty of FAPE that may
be challenged by parents through IDEA's impartial due process hearing process.’...'\When an entity that
does not owe the student a FAPE (such as PNWB in this case), there is no jurisdictional basis for
involuntarily making such entity a party to the proceeding. ... ‘Stated differently an [HO appointed by Mt
Vernon simply does not hve the jurisdictional ability te make another school system (particularly one
that does not owe the student a duty of FAPE) a party to the proceeding for which such IHO was
appointed. ...". (From Michael Lambert, counsel for PNWB, dated January 17, 2017)

36. Defendant's denied Plaintiff the right to seek and obtain counsel and failed to provide
counse! to the Plaintiff based upon the nature and allegation of due process complaint and
deprivation of FAPE and IDEA by each defendant's school system.

37. Defendant's failure to inform Plaintiff as a parent or to provide guidance counsel to assist by
providing the necessary information to the Plaintiff/parent to proceed with the complaints against the
school's failures to provide notice, due process in the disciplinary proceedings and continual school
services for Plaintiff's disable child continued education. Defendants dealt with dirty hands and deprived
Plaintiffs those fundamental rights afforded all Parents of disable student held in disciplinary
proceedings.

38. Defendants, together and collectively discriminated against the Plaintiff when they failed to
provide procedural notifications and information that would assist Plaintiff/parents.

39. Defendants deprived plaintiff the right to counsel to be represented at all stages of the
school proceedings superintendent, manifestation and the due process hearing.

40. Defendants further denied Plaintiff the right to counsel or guidance during a hearing in
which Defendant's Mount Vernon re-evaluated Plaintiff's disable child at Thorton High School for
placement by changing his IEP to allow defendants to place Plaintiff child in a public school that did not
have the services to provide disable students.(See email from IHO Norlander to defendant Gaon dated
January 13, 2017)

41. Plaintiff did not agree to the placement and defendant's did not provide the formal notices
that would provide Plaintiff/parent an opportunity to appeal or seek other means of redress of behalf of
her disable child pursuant to FAPE and !DEA. “

42. Plaintiff complained about the process via letters, emails and telephone calls to defendant
Board of Education and directly to Defendant Gaon.

43. Plaintiff requested in writing a review of school records regarding her son education while at
Thorton High School and was informed continually that the school does not have the records of
education and was not transferred with the student from Gefendant PNWEB. (letter dated October 30,
2017)

44. Plaintiff was denied the right to submit documentary evaluations from professional doctors
and clinical treatment therapist concerning the IEP of her child at Defendant's manifestation hearing,
superintendent hearing and the IEP re-evaluation hearing and review.

45. Plaintiff was and remained injuried by defendants deprivation of rights afforded under the
law and constitution that guarantee a Parents rights to participate in her child's education and meaning
services.

46. Plaintiff's was deprived the rights to participate in her disable child's further education and
graduation due to the defendants deprivation of rights and privileges afforded disable students and
their parents for a free affordable public education.

47, Defendants denied Plaintiff's the rights under IDEA of the opportunity to take advantage of
the procedural safeguards offered by the statute for disable children and their parents. When the
defendant's failed to provide Plaintiff with the proper notifications and information after Plaintiff's
complaints by letters, emails and phone calls to defendants.

48. Plaintiff's written complaint for her child returning to PNWB school after 45 days suspension
was not answered but put into a legal question without any actions and/or decision.

49. Defendant's did not make a formal recording of the Proceedings held before the Hearing
officer in the superintendent proceedings.

50. Defendants did not make a recording of the manifestation hearing and proceedings where a
determination was filed in writing. As to what evidence was Used te support such determination and
what evidence was submitted to make such determination.

51. Plaintiff did not receive a copy of the manifestation hearing determination or any
notification directing redress.

52. On February 3, 2017, an Interim order was issued by the [HO regarding complaints made by
Plaintiff, Defendant Mount Vernon School District attorney and PNWB school district attorney It is
further ORDERED that upon the issuance of decisions relating to the Student’s suspension from school
attendance, the parties shall notify me in writing of the resolution. In the event, the Parent elects to
amend her Complaint at such time, Ms. Simmons is directed to do so without delay. In the absence of an
amendment, whether or not the Parent has secured counsel, by such time, | shall issue a decision on all
outstanding requests, including the application for dismissal filed by Mr. Lambert on behalf of PNW
BOCES and the application filed by Mr. Scapoli on behalf of the Mt Vernon Schcol District regarding the
applicable statute of limitations. (IHO Interim Order dated 2/3/2017}

53. Defendants violated Plaintiffs Rights continually "Ms. Simmons Due Process Complaint,
dated January 3, 2017, against the Putnam Northern Westchester BOCES (PWN BOCES) was received by
the Mt. Vernon Board of Education on January 9, 2107;"

54. Plaintiff was not provided formal information for legal assistance until the IHO Orlando
directed defendant Gaon via e-mail to provide Plaintiff information on January 18, 2017, with an
attachment of free and low cost legal services and copy of the procedural safeguards this was not done
until February 3, 2017. (See interim order dated 2/3/2017)

55. Defendant Gaon, set a superintendent hearing for February 10, 2017, approximately SEVEN
DAYS after providing one address for legal assistance and a copy of the procedural safeguard package.
As mentioned by defendant's counsel if Plaintiff did not have legal counsel by then to preceed without
legal representation. (sic)

56. These deliberate and indifferent decisions affected Plaintiff's procedural safeguards In
making informed decisions and deprived Plaintiff the advantages incorporated in these procedural
manuals. Such material and information are maintained by the agents, employees and staff at
educational facilities for the Defendants New York State Department of Education.

57. The Defendant's collectively deprived Plaintiff the benefits of legal representation at a
period and time necessary for appropriate challenges te the deprivation of educational services and due

process procedure as well as the professionalism in educational law. This is apparent as stated by the
hearing officer "Although Ms. Simmons is entitled to an attorney to represent her and her son in a due
process hearing and in the pending matter before me, there is no basis to conclude that more time
alone will enable Ms. Simmons to do so;" (Interim Order February 3, 2017)

58. Defendant's deprivation of the continual education and services was in violation of Plaintiff's
rights pursuant to FAPE and IDEA. As noted by the IHO stating: "In the meantime and as of January 17,
2017, the Student, (} has not received any educational services since on or about November 9, 2016."
{Interim [HO hearing order dated February 3, 2017)

59. In February 2017, plaintiff obtained temporary counsel, as a last chance for representation
based on defendant's counsel, IHO and defendant Gaon actions and statements to proceed with
Plaintiff's hearings and proceedings rather Plaintiff obtain counsel or not.

60. Plaintiff counsel made one telephone conference before the [HO and was unable to proceed
further due to health issues and individual personal matters as stated on the records

61. Plaintiff due process rights and privileges under FAPE and IDEA were denied causing
damages and injury to the Plaintiff.

62. On January 17, 2017 a Prehearing was conference via phone call and several issues was
discussed concerning Plaintiff's right to a manifestation hearing held by defendants PNWB on
11/22/2016 and without notice to Plaintiff to participate and offer evidence on behalf of her child.
(Prehearing conference dated January 17, 2017}

63. The (HO interim order dated February 3, 2017 stated a new manifestation hearing would be
held with notice given to Plaintiff to participate, present documents and evidence regarding student
disabilities. (See Interim Order dated February 3, 2017)

64, Plaintiff Due Process complaint was filed against Defendant PNW Boces on January 3.
2017,

65. Plaintiff amended the Due Process complaint by adding Defendant Mount Vernon on
January 17, 2017.

66. Defendant's did not hold a superintendent hearing upon information where Plaintiff was a
participant.

67. Defendants Mount Vernon, stipulated an agreement on March 10, 2017 based upon
Plaintiff's child unregistered school services and counseling after approximately 90 days without schoo!
services. Plaintiff consented to the agreement.

68. The IHO excluded defendants PNWB from the agreement and liability for damages.

69. Plaintiff subsequently disagreed with defendant's Mount Vernon School District when
Defendant Gaon attempted to have the IEP changed in order to register Plaintiff disable child into
Thorton High. Plaintiff objected at the hearing held because defendants did not have the school records
and would not provide a copy of such records to the Plaintiff for review and participation as required my
FAPE and IDEA.

70. The stipulated agreement was not forfilled by the Defendants because Plaintiff's was not
allowed to participate and disagreed with defendants Mount Vernon School District as listed in the
subpart 3(a}{b){c)}(e)(f}(g)(h}(i} as listed in the settlement agreement. (March 10, 2017 Settlement
Agreement)

71. Plaintiff's disable child condition did not support Defendant's change to the IEP and to
placement in Thorton High School after 5 years of Boces and Special Education services.

72, The agreement stipulated excluded defendant PNWB by stating "Nothing herein shall
preclude the parent from asserting any clains against BOCES. (Settlement Agreement at subpart 7)

AS FOR A FIRST CAUSE OF ACTION

73. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges.

74, Defendants deprivation of Plaintiff's rights was in violation of the Individuals with
Disabilities Education Act (IDEA), a free appropriate public education (“FAPE”); the Individuals with
Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400 et seq., Section 504 of the Rehabilitation Act of
1973, 29 U.S.C. § 794 {“Section 504”}, and New York Education Law § 4002 et seq. ("N.Y. Educ. Law §
4002”) and the American Disability Act (ADA) Title 42 of the U.S.C.A section 12101; discriminatory
treatment, and pursuant to the Civil Rights violations under Title 42 section 1983.

SECOND CAUSE OF ACTION

75. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

76, Defendant's actions and conduct together showed discriminatory actions and _ bais
decisions when they, together, failed to follow Educational Department Laws, Protocol and
Federal/State procedures that protect the Plaintiffs against deliberate and indifferent treatment.
Including the Plaintiffs race, nationality, class status, disabilities and/or the Parental rights to participate
In the child's education and disciplinary proceedings under FAPE and IDEA guidelines and laws.

THIRD CAUSE OF ACTION

77. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

78. Defendants County of Putnam and PUTNAM/NORTHERN WESTCHESTER BOARD OF
EDUCATIONAL SERVICES have failed to provide diversity training at Special Education Learning
Facilities for staff, officials and employees which would assure Equal Protection of the Laws, Due Process
and procedural guidelines to eliminate discriminatory actions and decisions against people of color,
nationality, race and gender in Educational Services and Placments, including Disciplinary proceedings.

FOURTH CAUSE OF ACTION

79. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

80. Defendants the City of Mount Vernon and MOUNT VERNON CITY SCHGOL DISTRICT have
failed to provide diversity training at Special Education Learning Facilities for staff, officials and
employees which would assure Equal Protection of the Laws, Due Process and procedural guidelines
that will assist and identify discriminatory actions and decisions against people of color, nationality, race
and gender in Educational Services/Placement and Disciplinary proceedings.

81. The City of Mount Vernon School District and Putnam County BOCES fer Special Education
Learning Facilities are required by law to provide tutoring services and other educational requirements
for students out of school and/or suspended for a period exceeding 5-10 days.

82. Defendant's failure to respond to Plaintiff's request for her child's Individual Educational
Program assistance, counseling, reconsideration of the disciplinary determination and re-placement
back to school contributed to Plaintiff's injuries and a cause of action against the defendants which

harmed and deteriorated Plaintiff's PE mentai health, educational Jearning and public trust - Leaving
Plaintiff PE Behind.

FIFTH CAUSE OF ACTION

83. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

84, Defendant Murphy failed to follow the protocol for disciplinary proceedings before
suspension and showed herself to discriminate against Plaintiff. and further behavior shows defendant
Murphy retailated against Plaintiff for inquiring and demanding procedures neglected by defendant
Murphy in violation of due process and equal protection clauses of the law.

SIXTH CAUSE OF ACTION

85. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

86. Defendant County of Putnam used unwritten policies and practices before acceptance and
the hiring of schoo! employees in their PUTNAM/NORTHERN WESTCHESTER BOARD OF EDUCATIONAL
SERVICES when defendant Murphy and Beckman used unwritten policies and procedures that
contributed to a determination that (1) allowed discriminatory practices; (2) prejudicial treatment and
(3) practices in violation of FAPE and IDEA that violate Plaintiff's parental rights. When defendant's
together, deliberately and indifferent to Plaintiff's parental rights to participate in her child
educational decisions. Denied Plaintiff the rights and procedures under Safe-guard regulations, FAPE
and IDEA. Plaintiff Simmons rights to appear and provide facts, evidence or witnesses at a disciplinary
hearing for Plaintiff was viclated by defendants. Defendant's decision to expell Plaintiff's child from
Special Education Learning in PUTNAM/NORTHERN WESTCHESTER BOARD OF EDUCATIONAL SERVICES,
was arbitrary and capricious and in violation of lawful procedures. {See FAPE and IDEA)

87. Plaintiff made a oral and written request for a manifestation hearing by Defendant Murphy
for Putnam/Northern Westchester Board of Educational Services on or about the 10th day of November
2016.

88. Defendants alleged on November 22, 2016, a manifestation hearing was held without notice
to Plaintiff to participate and submit documentary medical and school records with testimony from
Clinical Psychiatrist.

89. Defendant Murphy and Beckman, deliberately indifferent to Plaintiff's rights to appear at
such manifestation hearing, therefore violating Plaintiff's rights under FAPE and IDEA

SEVENTH CAUSE OF ACTION

90. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

91. Defendant's special education for Putnam County was in violation of a free appropriate
public education (“FAPE”); the Individuals with Disabilities Education Act (“IDEA”), 20 U.S.C. § 1400 et
seq., Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (“Section 504”), and New York

Education Law § 4002 et seq. (“N.Y. Educ. Law § 4002”) and the American Disability Act {ADA) Title 42
of the U.S.C.A section 12101; discriminatory treatment, and pursuant to the Civil Rights violations under
Title 42 section 1983.

EIGHTH CAUSE OF ACTION

92. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

93. Plaintiff wrote defendant Murphy in September of 2016 regarding participation in her sons
education after loosing his coat in scho.

94, Defendant used her official capacity to retaliate agsinst plaintiff and violated Plaintiff rights a
free appropriate public education (“FAPE”); the Individuals with Disabilities Education Act (“IDEA”), 20
U.S.C. § 1400 et seq., Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (“Section 504”), and
New York Education Law § 4002 et seq. (“N.Y. Educ. Law § 4002”) and the American Disability Act (ADA)
Title 42 of the U.S.C.A section 12101; discriminatory treatment, and pursuant to the Civil Rights
violations under Title 42 section 1983.

EIGHTH CAUSE OF ACTION

95. Plaintiffs repeat paragraphs 1-72 as alleged and further alleges:

96. Defendant Putnam County Boces did not follow their own rules and policies when whne the
denied Plaintiff's right to a free appropriate public education (“FAPE”); the Individuals with Disabilities
Education Act (“IDEA”), 20 U.S.C. § 1400 et seq., Section 504 of the Rehabilitation Act of 1973, 29 U.S.C.
§ 794 (“Section 504”), and New York Education Law § 4002 et seq. (“N.Y. Educ. Law § 4002”) and the
American Disability Act (ADA) Title 42 of the U.S.C.A section 12101; discriminatory treatment, and
pursuant to the Civil Rights violations under Title 42 section 1983.

WHEREFORE, Plaintiffs prays for a Declaratory judgment that defendants violated Plaintiff's
right; and as follows:

1, Compensatory damages in the amount of $100,000.00 from each defendant;

2. Punitive damages in the amount of $300,000.00 from each defendants Murphy, Beckman,
Fox Meadow Boces Board of Education and $500,000.00 against the State of New York, City of
Mount Vernon and the County of Putnam $1.6 million dollars;

3. For special damages as alleged or proven at the time of trial;

4, For all cost and expenses of the Plaintiffs;

5. For cost of the suit and legal expenses;

6. For such other and further relief as the court may deem just and proper.

1 declare under the penalty of perjury the foregoing is true based upon my belief and knowledge, and

is correct.

Executed on this 12th day of April, 2022

-Parent & Guard

Plaintiff
PO Box 82
Yonkers, New York 10704

FOX MEADOW MMAIDDLE/HIGH SCHOOL
845 Fox Meadow Road, Yorktown Heights, NY 10598-4399

PHONE: G14-248-2357 FAK: 914-248.3659
EMAIL: amurcehy@ionwhoces ore

PUTNAM PNORTIERN WESTCHESTER

NICOLE MURPHY, SUPERVISOR OF SPECIAL EDUCATION
November 9, 2016.

Via first class and overnight delivery
Terri Simmons

20 East 4"" Street, Apt. 3D

’ Mount Vernon, NY 10550

Re: Peter Eichie
’ Dear Ms. Simmons:

Peter has been suspended from school for five (5). days to be served on November 14, 15, 16, 17 and 18, 2016. Peter’s -
conduct poses an on-going threat of disruption to'the academic process.

On November 9, 2016, Peter’s teacher reported that when he arrived to class and sat down in his chair-something fell
from the area of his lap. The item that had fallen was a small packet of marijuana, The teacher also found asecond
packet of marijuana under Peter's chair when he was removed from the classroain,

" ‘Thé-above is a clear violation of our Student Codes of Conduct:

® VI.C’B —Prohibited Student Conduct: Engage [n conduct that involves the possession of weapons, drugs,
including synthetic versions of drugs, whether specifically illegal or not, or alcohol, Examples of this conduct
include: (b) Use, possession, sale.or distribution of drugs, including synthetic-versions of drugs,

© V).D.1F - Engaging in any willful act which disrupts the normal or safe operation of the school community.

Suspension is a very serious matter, You have the right to request an Immediate informal conference with me at which -.
time you may present the student’s version of the events.and ask questions of the complaining witnesses. Please
contact me at 914-248-2357 if you wish to discuss the matter further or schedule a conference. PLEASE BE ADVISED
THAT THIS MATTER HAS BEEN REFERRED FOR A SUPERINTENDENT’S HEARING.

Sincerely,

Nitole Murphy Dory

Principal

cc: Felicia Gaon, Mount Vernon Director of Special Education
Shelley Fleischmann, PNW BOCES Director of Special Education

Bedford [| Brewster | Briarcliff. | Carmel | Chappaqua j Croton-Harmen | Garrison | Haldane | Hendrick Hudson
Katonah-Lewisboro | Lakeland [| Mahopac [| NorthSaiem | Ossining | Peekskilt | Putnam Val ley | Somers | Yorktown

T.S., Parent of P.E., a Student with a Disability

~against- INTERIM ORDER

The Mt. Vernon City School District and
Putnam Northern Westchester BOCES

In response to a request made by Mr. Scapoli on behalf of the Mt. Vernon City School District
on January 9, 2017, having held a conference call with all parties and representatives on January
17, 2017, having previously notified all parties of my intent to issue a formal order to this effect
and having reviewed the following documents:

1.

Ms. Simmons Due Process Complaint, dated January 3, 2017, against the Putnam
Northern Westchester BOCES (PWN BOCES) was received by the Mt. Vernon
Board of Education on January 9, 2107;

In a letter dated January 10, 2017, the letter issued by the Mt. Vernon City School
District (“The District”) appointing me to serve as the impartial hearing officer to
address this Complaint and acknowledgement that, as the Student’s District of
Residence, the District was a necessary party to the Complaint;

Replies submitted to me by Ms. Simmons in response to the application made on
behalf of PNW BOCES, by Michael Lambert, Esq. and to the Answer filed by the Mt.
Vernon City School District, by Mr. Scapoli Esq.;

An e-mail, from Ms. Gaon to Ms. Simmons on January 18, 2017, with an attachment
of free and low cost legal services and copy of the procedural safeguards,

Based on the foregoing, I find that:

1.

Ms. Simmons has been diligently seeking counsel since the time her son was first
suspended from his last program at PNW BOCES on or about November 9, 2016 and
that despite her efforts to do so, has been unsuccessful

To date, the Mt. Vernon City School District had agreed to postpone the
Superintendent’s hearing previously scheduled and adjourned in response to Ms.
Simmon’s request for time to secure counsel;

Ms. Simmons denies the charges that formed the basis of the suspension referred to
above;

To date, the parties have not reached an agreement through the resolution process or
otherwise to further adjournment of the hearing to determine the Student’s innocence
or guilt involving the charges leading to his removal from his last placement at
PNWBOCES.

5. Although Ms. Simmons is entitled to an attorney to represent her and her son
in a due process hearing and in the pending matter before me, there is no basis to
conclude that more time alone will enable Ms. Simmons to do so;

6, Inthe meantime and as of January 17, 2017, the Student, P.E. has not received any
educational services since on or about November 9, 2016.

Based on my review and findings of fact, I issue the following Orders:

1. In the absence of an agreement between the parties resolving the Parent’s outstanding
Complaint or an agreement by the Parent waiving her and her son’s right toa
Superintendent’s Hearing, the Mt. Vernon City School District shall issue written notice
to Ms. Simmons, as required by Education Law $3214, and reschedule a hearing for
February 10, 2017 or upon further agreement of the parties to a date , as soon as possible
thereafter, to provide due process in accordance with Education Law §3214 to address
any and all charges forming the basis for the exclusion of Peter Eichie from his last
agreed upon placement at the PNW BOCES;

2. In the absence of an agreement reached between the parties resolving the Parent’s
outstanding Complaint, or the need to proceed to the hearing referred to above, if the
Student is found guilty of any charges following such hearing, the Mt Vernon City
School District shall convene, as soon as possible thereafter, a meeting of the
Manifestation Team held pursuant to Part 201 of Commissioner’s regulations, to
determine whether such behaviors, whether found as a result of hearing or by
agreement, constituted a manifestation of his disability;

3. Ifthe Student is subject to further suspension from school as a result of the hearing,
whether or not the manifestation team finds the behavior upon which such suspension is
based, to be a manifestation of his disability the Student will be credited with time served
for each day he did not attend school since his removal from PNW BOCES.

It is further ORDERED that upon the issuance of decisions relating to the Student’s suspension
from school attendance, the parties shall notify me in writing of the resolution. In the event, the
Parent elects to amend her Complaint at such time, Ms. Simmons is directed to do so without
delay. In the absence of an amendment, whether or not the Parent has secured counsel, by such
time, I shall issue a decision on all outstanding requests, including the application for dismissal
filed by Mr. Lambert on behalf of PNW BOCES and the application filed by Mr. Scapoli on
behalfof the Mt Vernon School District regarding the applicable statute of limitations.

SO ORDERED:
// Karen Norlander
Karen Norlander, Esq.

Dated: February 3, 2017

Due Process Complaint Notice
Requesting a Impartial Hearing/ Resolution

I Terri simmons, do hereby file this Due Process Complaint Notice against Putman Northern
Westchester Boces. Yorktown Heights

Submitted by Terri Simmons

Submitted to: Shelley Einbinder-Fleischmann, Director of Special Education

_ 845 Fox Meadow: Rd., Yorktown Heights, New York 10598

Student Information

Child's name Peter Ejchie, dob 2/19/00, residing at-20 East 4th Street:3D, Mount Vernon, New
York 10550, PNW Boces Yorktown Heights, Fox Meadow High School, 845 Fox Meadow: Road,
Yorktown Reights, New York 10598.

District of Mount Vernon, New York -

Parent: Terri Simmons, 20 East 4th Street, Apt 3D, Mount Vernon, NY 40550. Telephone
646-431-3659

~ School Information:

‘Shelley Einbinder-Fleischmann, Director of Special Education —

845 Fox Meadow Rd., Yorktown Heights, New York 10598

Subject. of the complaint

On November 9, 2016, | personally drove my. son to school because the bus failed to pick him
up. White at school'l spoke with Nicole Murphy, Principal and Penny Beckman, Psychologist at
Fox Meadow H/S. | left the school driving back home during this time | was called back to the |
school. by Dr. Murphy concerning my son Peter Eichie. Upon my return | was informed by Dr.

Murphy that-my son Peter was in possession of marijuana and that she recommended that he
be suspended, | objected to the suspension and requested a formal hearing. At that time, she.

rescinded her decision from suspension to In-house suspension. | eft the school alone and
returned home.-On 11/10/16, a pre-hearing was scheduled and cancelled by the representative
and | did ~ notattend but requested a re-scheduled dated. | sent my son back to school and |
he was not allowed to attend any classes. He was held-on in-house suspension by the principal.
Dr. Murphy. emailed me 11/14/16 stating: “...A superintendent's hearing was also requested
upon. his return.’ ,..."he has to complete his out of school suspension..." On 11/14/16 I
received:a letter from -school-dated 11/9/16. with a notice of suspension disposition at 5 days
and.no return date for. my son. (11/14, 11/15, 11/16, 11/17 and 11/18) and a further notice

referring the matter to a Superintendent hearing. The letter also included a further charge of

"VLDAF Engaging i in-any willful-act which disrupts the normal.or safe operation of the school
community." On 11/14/. My son has. been suspended from school over 40 days. / am -
complaining that the principal would not allow my son-back in school after the five days of
suspension pending a superintendent's hearing. The two days in-school suspension did not —
count toward the 5 days suspension. The. actions of the ‘principal referring the matter to
superintendent's hearing without a. manifestation hearing or pre-conference was bias and
prejudice my child from further education. A review of my. child's psychologist records and
diagnosis will show that his condition alter his behavior. The. principal-added another charge
and referred the matter to a Superintendent's hearing by stating my son violated this rule:
VE D.1F Engaging in any willful act-which disrupts the normal or safe operation of the school.

community." A further review. of my child's record will shew. that a previous ‘manifestation _ oe

hearing reveal that his disability contribute to behavidr.

Proposed Solution

Thata review of my child's records used for manifestation are reconsidered for his
continued education under the Special Education programs as approved in his Individual.
Educational Plan {IEP} for. 2016, 2015, 2014, 2013, 2012, 2011, 2010, 2009, 2008 and 2007,

My child need the special education programs as well as the counseling described in the IEP
ald and help to assist him in his me

(TERRISIAMONS,” Parent

. Submited by: a ‘ Ga uW(iL—

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Date: January 3rd, 2017

No other-due process complaint was filed on behalf of Peter Eichie.
No other due process complaint has been filed on behalf of the parent or student

